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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                    :

       v.                                   :      CRIMINAL NO.: 05-586

PAMELA SLAUGHTER                            :


                                    NOTICE OF APPEAL


       Notice is hereby given that Pamela Slaughter, Defendant above-named, hereby appeals to

the United States Court of Appeals for the Third Circuit from the judgment of sentence entered

on March 23, 2006.

                                                 Respectfully submitted,




                                                 LEIGH M. SKIPPER
                                                 Supervisory Assistant Federal Defender
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                                CERTIFICATE OF SERVICE


       I, Leigh M. Skipper, Supervisory Assistant Federal Defender, Defender Association of

Philadelphia, Federal Court Division, hereby certify that I have served a copy of the Notice of

Appeal, by electronic notification and/or hand delivery upon Terri A. Marinari, Assistant United

States Attorney, to her office located at 615 Chestnut Street, Suite 1250, Philadelphia,

Pennsylvania 19106.




                                                     LEIGH M. SKIPPER
                                                     Supervisory Assistant Federal Defender


DATED: March 31, 2006
